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     Attorney at Law
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     Sacramento, California 95818
 4   Telephone: (916) 456-3030
 5   Attorneys for Defendant
     DONG SONG
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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                          Case No. S-08-00543 GEB
12
                      Plaintiff,                        DECLARATION OF KENNY N.
13                                                      GIFFARD IN SUPPORT OF
      vs.                                               REQUEST FOR EXONERATION
14                                                      OF BOND AND PROPOSED ORDER
15   DONG SONG, et al,
16                    Defendants.
17                                                  /
18
19                    I, KENNY N. GIFFARD, declare as follows:
20                    1. I am counsel of record for Defendant DONG SONG in the above-
21   entitled case.
22                    2. Defendant, pursuant to the order of the Court, was committed on
23   September 3, 2010, to the custody of the United States Bureau of Prisons for a total term
24   of “time served.” Hence he has fully served that ordered period of incarceration.
25                    3. I am informed and believe and thereon allege that bond in the above-
26   entitled matter has not been exonerated pursuant to Federal Rules of Criminal Procedure,
27   Rule 46, subdivision (g).
28                                       1
     ________________________________________________________________________
     DECLARATION AND PROPOSED ORDER FOR EXONERATION OF BOND
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 1                 4. Bond had been previously set in the amount of $275,000.00 on March 2,
 2   2009. Of that amount, the sum of $75,000.00 was to be secured by a deed of trust on real
 3   property.
 4                 5. I am informed and believe and thereon allege that there was no forfeiture
 5   of any of the bail in this matter and all conditions for exoneration of the bond, including
 6   that portion of the bond secured by real property pledged in this matter, have been met.
 7   Therefore, I request that the Court exonerate the bond and order that reconveyance be
 8   undertaken forthwith on the below-described real property:
 9                 Lot 20, as shown on the “Amended Vesting Map of Subdivision No. 96-
                   0480.2 Laguna Creek South Village 1B (294 B. M. 12)” filed in the Office
10                 of the County Recorder of Sacramento County, California, on March 6,
                   2002, in Book 295 of Maps, Page 1. APN: 132-0730-075
11
12                 6. Said real property is owned by Summer Liang.
13                 I declare under penalty of perjury that the foregoing is true and correct and
14   that this declaration was executed on this 4 th day of October, 2010, at Sacramento,
15   California.
16
                                                       /s/ Kenny N. Giffard
17                                                     _________________________________
                                                       KENNY N. GIFFARD
18                                                     Attorney for Defendant
                                                       Dong Song
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     ________________________________________________________________________
     DECLARATION AND PROPOSED ORDER FOR EXONERATION OF BOND
      Case 2:08-cr-00543-KJM Document 260 Filed 10/06/10 Page 3 of 3


 1                                     PROPOSED ORDER
 2                 GOOD CAUSE THERE APPEARING, it is hereby ordered that the
 3   appearance bond posted by Defendant Dong Song and Summer Liang, of which
 4   $75,000.00 was secured by a Deed of Trust to real property located in the County Of
 5   Sacramento, in the above-entitled matter, is hereby exonerated; the Clerk of this Court
 6   forthwith shall provide a Deed of Reconveyance of the Sacramento County property
 7   securing the bond to the sureties/trustors at the following mailing address:
 8          Summer Liang, 9809 Valgrande Way, Elk Grove, California 95757.
 9   IT IS SO ORDERED.
10   Dated: October 5, 2010
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12                                          GARLAND E. BURRELL, JR.
13                                          United States District Judge

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28   ________________________________________________________________________
     DECLARATION AND PROPOSED ORDER FOR EXONERATION OF BOND
